                     Case UNITED
                          17-23640-EPK DocBANKRUPTCY
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                                                           COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                                                       CASE NO.: 17-23640-BKC-EPK
                                                                    PROCEEDING UNDER CHAPTER 13

IN RE:

SHAWN THOMPSON
XXX-XX-5883
MARCEN MORRIS
XXX-XX-5633

_____________________________/
DEBTORS

                                     NOTICE OF DELINQUENCY

   PLEASE TAKE NOTICE the above-referenced Debtors are delinquent in Confirmed Chapter 13
Plan Payments in the amount of $3341.32.

    The Debtors shall have forty-five (45) days from the date of this Notice to make all payments due under
the Confirmed Plan/Modified Plan, INCLUDING ANY PAYMENTS THAT BECOME DUE WITHIN
THE FORTY-FIVE (45) DAY PERIOD.

    If the Chapter 13 Trustee ("Trustee") does not receive all payments by September 08, 2019 to bring the
Debtors totally current under the Confirmed Plan/Modified Plan, or if applicable, a Motion to Modify has
not been timely filed and set within fifteen (15) days of this Notice pursuant to the Confirmation Order, the
Trustee may file and serve a Report of Non-Compliance.

    As a result of the Debtors failure to become current or timely file a Motion to Modify, the case shall be
dismissed with prejudice to the filing of any bankruptcy proceeding for a period of 180 days from entry of
the Order of Dismissal without further notice or hearing.

    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Notice of Delinquency
was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed on the attached
service list this 25th day of July 2019.


                                                                  /s/ Robin R. Weiner
                                                              _____________________________________
                                                                  ROBIN R. WEINER, ESQUIRE
                                                                  STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 559007
                                                                  FORT LAUDERDALE, FL 33355-9007
                                                                  TELEPHONE: 954-382-2001
                                                                  FLORIDA BAR NO.: 861154
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                                                                    NOTICE OF DELINQUENCY
                                                                  CASE NO.: 17-23640-BKC-EPK

                                   SERVICE LIST

COPIES FURNISHED TO:

DEBTORS
SHAWN THOMPSON
MARCEN MORRIS
21362 SUMMERTRACE CIR
BOCA RATON, FL 33428

ATTORNEY FOR DEBTORS
CONWADE D. LEWIS, ESQUIRE
3500 N. STATE ROAD 7
SUITE 440
LAUDERDALE LAKES, FL 33319
